Case 0:21-cv-62376-RAR Document 12 Entered on FLSD Docket 12/14/2021 Page 1 of 2

                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

   ROBERT TAYLOR, individually and on behalf of all                         CLASS ACTION
   others similarly situated,
                                                                      Case No. 0:21-cv-62376-RAR
         Plaintiff,

   vs.

   DHL EXPRESS (USA), INC.,

     Defendant.
   ______________________________________/

                           NOTICE OF DISMISSAL WITHOUT PREJUDICE

             Plaintiff, Robert Taylor, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), does

  hereby dismiss this action as follows:

             1.       All claims of the Plaintiff, Robert Taylor, individually, are hereby dismissed without

  prejudice.

             2.       All claims of any unnamed member of the alleged class are hereby dismissed

  without prejudice.

  Date: December 14, 2021

  Respectfully Submitted,

  Shamis & Gentile, P.A.
  /s/ Andrew J. Shamis
  Andrew J. Shamis, Esq.
  Florida Bar No. 101754
  ashamis@shamisgentile.com
  14 NE 1st Avenue, Suite 705
  Miami, FL 33132
  Telephone: 305-479-2299


  Edelsberg Law, P.A.
  /s/ Scott Edelsberg
  Scott Edelsberg, Esq.
  Florida Bar No. 0100537
Case 0:21-cv-62376-RAR Document 12 Entered on FLSD Docket 12/14/2021 Page 2 of 2

  20900 NE 30th Ave., Suite 417
  Aventura, FL 33180
  Telephone: 305-975-3320
  Email: scott@edelsberglaw.com



  Counsel for Plaintiff and the Class




                                        CERTIFICATE OF SERVICE

          I hereby certify that on December 14, 2021, I electronically filed the foregoing document
   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
   served this day on all counsel identified below via transmission of Notices of Electronic Filing
   generated by CM/ECF or in some other authorized manner.

   Respectfully submitted,
                                                SHAMIS & GENTILE, P.A.
                                                14 NE 1st Ave., Suite 705
                                                Miami, FL 33132
                                                Telephone (305) 479-2299
                                                Facsimile (786) 623-0915
                                                Email: efilings@sflinjuryattorneys.com

                                          By:    /s/ Andrew J. Shamis
                                                 Andrew J. Shamis, Esq.
                                                 Florida Bar # 101754


                                                Counsel for Plaintiff and the Class
